

Matter of Save Monroe Ave., Inc. v Town of Brighton (2022 NY Slip Op 05411)





Matter of Save Monroe Ave., Inc. v Town of Brighton


2022 NY Slip Op 05411


Decided on September 30, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 30, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, PERADOTTO, AND NEMOYER, JJ.


616 CA 21-01443

[*1]IN THE MATTER OF SAVE MONROE AVE., INC., 2900 MONROE AVE., LLC, CLIFFORDS OF PITTSFORD, L.P., ELEXCO LAND SERVICES, INC., JULIA D. KOPP, MARK BOYLAN, ANNE BOYLAN AND STEVEN M. DEPERRIOR, PETITIONERS-APPELLANTS,
vTOWN OF BRIGHTON, NEW YORK OFFICE OF BUILDING INSPECTOR, RAMSEY BOEHNER, IN HIS CAPACITY OF BUILDING INSPECTOR, TOWN OF BRIGHTON ZONING BOARD OF APPEALS, DANIELE MANAGEMENT, LLC, DANIELE SPC, LLC, MUCCA MUCCA, LLC, MARDANTH ENTERPRISES, INC., AND M &amp; F, LLC, RESPONDENTS-RESPONDENTS. (APPEAL NO. 9.) 






HODGSON RUSS LLP, BUFFALO (AARON M. SAYKIN OF COUNSEL), FOR PETITIONERS-APPELLANTS.
WEAVER MANCUSO BRIGHTMAN PLLC, ROCHESTER (JOHN A. MANCUSO OF COUNSEL), FOR RESPONDENTS-RESPONDENTS TOWN OF BRIGHTON, NEW YORK OFFICE OF



	Appeal from an order of the Supreme Court, Monroe County (J. Scott Odorisi, J.), entered September 8, 2021. The order denied the motion of petitioners for a preliminary injunction. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Brighton Grassroots, LLC v Town of Brighton Planning Bd. ([appeal No. 1] — AD3d — [Sept. 30, 2022] [4th Dept 2022]).
Entered: September 30, 2022
Ann Dillon Flynn
Clerk of the Court








